         Case 1:09-cv-00242-FMA Document 57 Filed 10/08/10 Page 1 of 1




      In The United States Court of Federal Claims
                                              No. 09-242L

                                     (Filed: October 8, 2010)
                                           __________

 LOIS A. BURGESS, MARY VAN ELLEN and
 ADELINE M. JOHNSON, for themselves and
 as representatives of a class of similarly
 situated persons,

                                Plaintiffs,

                         v.

 THE UNITED STATES,

                                Defendant.

                                               _________

                                                ORDER
                                               _________

        On July 16, 2010, defendant filed a motion for miscellaneous relief to resolve outstanding
objections to plaintiffs’ class index and claim book. After the motion had been fully briefed, on
August 23, 2010, the parties filed a joint status report on stipulations, in which the parties
indicated that they would be able to resolve outstanding document production issues without
involving the court. Upon review of defendant’s objections filed and briefed with the court, the
court requests clarification as to what, if any, objections to plaintiffs’ class index and claim book
remain to be addressed in an oral argument, currently scheduled for October 19, 2010. On or
before October 13, 2010, the parties shall file separate status reports addressing what, if any,
issues relating to the class index and claims book remain to be resolved.

       IT IS SO ORDERED.




                                                              s/Francis M. Allegra
                                                              Francis M. Allegra
                                                              Judge
